









Petition for Writ of Mandamus Denied and Memorandum Opinion filed May
12, 2005









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed May 12, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00352-CV

____________

&nbsp;

IN RE ENSCO INCORPORATED, ET AL.,
Relators

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On April 8, 2005, relators
filed a petition for writ of mandamus in this court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52. 

Relators have not established that they are
entitled to mandamus relief.&nbsp;
Accordingly, we deny relators= petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed May 12, 2005.

Panel consists of
Justices Yates, Anderson, and Hudson.





